          Case: 3:22-cv-00344-jdp Document #: 12 Filed: 06/24/22 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF WISCONSIN

  Lac Courte Oreilles Financial Services,
  LLC,Hummingbird Funds, LLC, Miinan
  Funds, LLC
                                              Case No. 3:22-cv-00344
                   Plaintiffs,
  v.

  Cane Bay Partners VI, LLLP, Dimension
  Credit (Cayman), L.P., Strategic Link
  Consulting, LP, Esoteric Ventures, LLC,
  InfoTel International Ltd, M. Mark High,
  Ltd.,Kirk Chewning, David Johnson, Kim
  Anderson, Jay Clark, and DOES 1-20,

                   Defendants.

                                 NOTICE OF APPEARANCE


          PLEASE TAKE NOTICE that Joshua N. Turner of Faegre Drinker Biddle &

Reath LLP appears as counsel of record for Dimension Credit (Cayman), L.P. in this

action.

Dated: June 24, 2022                    /s/ Joshua N. Turner
                                        Joshua N. Turner, Bar #1104551
                                        FAEGRE DRINKER BIDDLE & REATH LLP
                                        2200 Wells Fargo Center
                                        90 South Seventh Street
                                        Minneapolis, MN 55402
                                        Phone: (612) 766-7000
                                        Fax: (612) 766-1600
                                        josh.turner@faegredrinker.com

                                        Attorney for Defendant
                                        Dimension Credit (Cayman), L.P.




US.350845298.01
